          Case 4:21-cr-00046-P Document 25 Filed 01/20/23                 Page 1 of 15 PageID 201
                              UNITED STATES DISTRICT COURT
                                        NORTHERN DISTRICT OF TEXAS
                                             Fort Worth Division

 UNITED STATES OF AMERICA

 v.                                                      Case Number: 4:21-CR-00046-P(01)

 HAYDEN BEARD                                            U.S. Marshal’s No.: 20207-006


                                    JUDGMENT IN A CRIMINAL CASE
                              (For Revocation of Probation or Supervised Release)
                            (For Offenses Committed On or After November 1, 1987)

       The defendant, HAYDEN BEARD, was represented by Andrenette Sullivan.

THE DEFENDANT:

       Pled true to violating Paragraphs I, III, IV, V, VI, VII, and VIII of the Petition for Offender Under
Supervision, dated September 6, 2022, and to Paragraph III of the Addendum to Petition for Person Under
Supervision, dated October 28, 2022.

See Petition for Offender Under Supervision.

        Certified copy of the Judgment imposed on August 24, 2020, in the U.S. District Court, District of Alaska,
is attached.

       As pronounced on January 19, 2023, the defendant is sentenced as provided on page 2 of this Judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the
court and United States Attorney of any material change in the defendant’s economic circumstances.

       Signed January 20, 2023.


                                                      ____________________________________________
                                                      MARK T. PITTMAN
                                                      U.S. DISTRICT JUDGE
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 Judgment in a Criminal Case for Revocation                                                            Page 2 of 6
 Defendant: HAYDEN BEARD
 Case Number: 4:21-CR-00046-P(1)



                                               IMPRISONMENT

       The defendant, HAYDEN BEARD, is hereby committed to the custody of the United States Bureau of
Prisons (BOP) to be imprisoned for a term of TIME-SERVED.

       The defendant is remanded to the custody of the United States Marshal.

                                           SUPERVISED RELEASE

     Upon release from imprisonment, the defendant shall be placed on supervised release for a term of
FIFTEEN (15) years.

        As part of your supervised release, you must comply with the following standard conditions of
supervision. These conditions are imposed because they establish the basic expectations for your behavior while
on supervision and identify the minimum tools needed by probation officers to keep informed, report to the court
about, and bring about improvements in your conduct and condition.

( 1)   You must report to the probation office in the federal judicial district where you are authorized to
       reside within 72 hours of your release from imprisonment, unless the probation officer instructs
       you to report to a different probation office or within a different time frame.
( 2)   After initially reporting to the probation office, you will receive instructions from the court or the
       probation officer about how and when you must report to the probation officer, and you must report
       to the probation officer as instructed.
( 3)   You must not knowingly leave the federal judicial district where you are authorized to reside
       without first getting permission from the court or the probation officer.
( 4)   You must answer truthfully the questions asked by your probation officer.
( 5)   You must live at a place approved by the probation officer. If you plan to change where you live
       or anything about your living arrangements (such as the people you live with), you must notify the
       probation officer at least 10 days before the change. If notifying the probation officer in advance
       is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
( 6)   You must allow the probation officer to visit you at any time at your home or elsewhere, and you
       must permit the probation officer to take any items prohibited by the conditions of your supervision
       that he or she observes in plain view.
( 7)   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the
       probation officer excuses you from doing so. If you do not have full-time employment you must
       try to find full-time employment, unless the probation officer excuses you from doing so. If you
       plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least 10 days before the change. If
       notifying the probation officer at least 10 days in advance is not possible due to unanticipated
       circumstances, you must notify the probation officer within 72 hours of becoming aware of a
       change or expected change.
( 8)   You must not communicate or interact with someone you know is engaged in criminal activity. If
       you know someone has been convicted of a felony, you must not knowingly communicate or
       interact with that person without first getting the permission of the probation officer.
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 Judgment in a Criminal Case for Revocation                                                            Page 3 of 6
 Defendant: HAYDEN BEARD
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( 9)   If you are arrested or questioned by a law enforcement officer, you must notify the probation
       officer within 72 hours.
(10)   You must not own, possess, or have access to a firearm, ammunition, destructive device, or
       dangerous weapon (i.e., anything that was designed, or was modified for, the specific purpose of
       causing bodily injury or death to another person such as nunchakus or tasers).
(11)   You must not act or make any agreement with a law enforcement agency to act as a confidential
       human source or informant without first getting the permission of the court.
(12)   If the probation officer determines that you pose a risk to another person (including an
       organization), the probation officer may require you to notify the person about the risk and you
       must comply with that instruction. The probation officer may contact the person and confirm that
       you have notified the person about the risk.
(13)   You must follow the instructions of the probation officer related to the conditions of supervision.

       In addition the defendant shall:

       not commit another federal, state, or local crime;

       not illegally possess controlled substances;

       cooperate in the collection of DNA as directed by the probation officer;

       not possess a firearm, ammunition, destructive device, or any dangerous weapon;

       report in person to the U.S. Probation Office in the district to which the defendant is released from the
       custody of the Federal Bureau of Prisons within 72 hours of release;

       submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
       thereafter, as determined by the court;

       comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901,
       et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration
       agency in the location where you reside, work, are a student, or were convicted of a qualifying offense;

       take notice that in addition to submitting to drug testing in accordance with the Violent Crime Control and
       Law Enforcement Act of 1994, at the direction of the probation officer the defendant shall obtain a
       substance abuse assessment and participate in any recommended treatment. The treatment program must
       be approved by the United States Probation Office and the program must include testing to determine
       whether the defendant has reverted to the use of drugs or alcohol. At the direction of the probation officer,
       the defendant may be required to pay for all or a portion of any treatment program. In addition to urinalysis
       testing that may be a part of a formal drug treatment program, the defendant shall submit up to 12
       urinalysis tests per month;

       not consume any alcoholic beverages;
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Judgment in a Criminal Case for Revocation                                                           Page 4 of 6
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      possess or use a computer or cellular telephone with access to any on-line service at any time (including
      employment) without prior written approval from the probation officer. This includes access through any
      Internet service provider, bulletin board system, e-mail system, or any public or private computer network
      system. The defendant shall permit routine inspection of his/her computer system or any other computer
      system maintained at the defendant’s residence to include hard drives and any media storage materials, to
      confirm adherence to this condition. The inspection shall be no more intrusive than is necessary to ensure
      compliance with the defendant’s conditions of supervision. The defendant shall inform his/her employer,
      or other third party who may be impacted by this condition, of this computer-related restriction and the
      computer inspection provisions of the condition;

      provide the probation officer with any requested financial information to verify there have been no
      payments to an Internet Service Provider or entities that provide access to the Internet via computer, cell
      phone, PDA, or other electronic media device;

      have no contact with any person under the age of 18 years without adult supervision, including his/her
      own family members, nor attempt contact except under circumstances approved in advance and in writing
      by the probation officer in consultation with the defendant’s treatment provider;

      not seek employment, engage in leisure activities or loiter near places designated primarily for minors
      such as schools, parks, and arcades, which may bring the defendant into unsupervised contact with any
      person under the age of 18 years. Contact is defined as any transaction occurring face to face, over the
      telephone, via mail, over the internet, and any third party communication;

      not be employed in any capacity which is likely to cause the defendant to come into unsupervised contact
      with children, except under circumstances approved in advance by the supervising probation officer. The
      defendant shall not participate in any volunteer activity that may cause the defendant to come into direct
      contact with children, except under circumstances approved in advance by the defendant’s probation
      officer;

      not possess any material showing sexually explicit conduct as defined under 18 U.S.C. § 2256 or as
      deemed inappropriate by his probation officer and/or treatment provider, or patronize any location or
      website where such material or entertainment is featured. To assist in monitoring this condition, the
      defendant shall allow, at the defendant’s expense, the probation office to install monitoring software or
      hardware on any computer(s) or electronic device(s) in order to determine adherence to this condition.
      Further, the defendant shall provide the probation officer with any requested financial information to
      verify any Internet Service Provider account information or entities that provide access to the Internet via
      computer, cellular telephone, tablet, or any other electronic media device;

      conform with sex offender registration laws and other laws which exist in any jurisdiction where he resides
      or visits, within 24 hours of release on supervision or any change in circumstances;

      submit to a warrantless search of person, residence, vehicle, personal effects, place of employment, and
      other property by a federal probation or pretrial services officer or other law enforcement officer, based
      upon reasonable suspicion of contraband, a violation of a condition of supervision, or a violation of law.
      Contraband includes, but is not limited to, any computers, electronic media, videotapes, CD’s, DVD’s,
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 Judgment in a Criminal Case for Revocation                                                            Page 5 of 6
 Defendant: HAYDEN BEARD
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       Zip drives, PDA’s or other electronic media storage device that may include images of child pornography.
       Failure to submit to a search may be grounds for revocation;

       participate in a program of sex offender assessment and treatment, as directed by the probation officer,
       until such time as he is released from the program. This assessment, treatment and the entirety of
       supervised release may include physiological testing such as polygraph to assist in planning, case
       monitoring, and supervision. At the direction of the probation officer, the defendant may be required to
       pay for all or a portion of any treatment program. Any refusal to submit to such assessment or tests as
       scheduled is a violation of the conditions of release. The defendant shall waive his right of confidentiality
       in treatment and sign any necessary releases for any records imposed as a consequence of this judgment
       to allow the supervising United States Probation Officer to review the defendant's course of treatment and
       progress with the treatment provider(s). Following completion of any sex offender treatment program, the
       defendant shall continue to submit to polygraph examination at the direction of the probation officer to
       assist with monitoring any perceived risks of danger to the community and adherence to the terms and
       conditions of supervision. At the direction of the probation officer, the defendant may be required to pay
       for all or a portion of any polygraph testing;

       take notice that until such time that the fine and/or restitution is paid in full, the defendant shall provide
       the probation officer access to any requested financial information, including authorization to conduct
       credit checks, and shall not incur any new debts or apply for credit without the prior approval of the
       probation officer;

       take notice that at the direction of the probation officer the defendant shall obtain a mental health
       assessment and participate in any recommended mental health treatment. The treatment program must be
       approved by the United States Probation Office. At the direction of the probation officer, the defendant
       may be required to pay for all or a portion of any treatment program; and,

       adhere to the conditions of supervised release previously ordered in the attached certified
       Judgment.

                                             FINE/RESTITUTION

       The Court does not order a fine or costs of incarceration because the defendant does not have the financial
resources or future earning capacity to pay a fine or costs of incarceration.

       Restitution is not ordered because there is no victim other than society at large.
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 Judgment in a Criminal Case for Revocation                                               Page 6 of 6
 Defendant: HAYDEN BEARD
 Case Number: 4:21-CR-00046-P(1)




                                                   RETURN

       I have executed this judgment as follows:

__________________________________________________________________________________________

__________________________________________________________________________________________

__________________________________________________________________________________________

       Defendant delivered on _____________________ to ___________________________________

at ________________________________________________, with a certified copy of this judgment.


                                                      United States Marshal

                                                      BY
                                                      Deputy Marshal
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    AO245B               (Rev. 11/16) Judgment in a Criminal Case
                         Sheet 1
    BEARD HAYDE N JNC
    AO245B                Judgment in a Criminal Case




                                                                      UNITED STATES DISTRICT COURT
                                                                                           District of Alaska
                         UNITED STATES OF AMERICA                                                     SECOND AMENDED JUDGMENT IN A CRIMINAL
                                                                                                      CASE
                                                                                                      (For Supervised Release)
                                                                                                      **Amended to reflect reduced sentence and time served order pursuant to
                                                                 v.                                   18 U.S.C. § 3582(c)(1)

                                                          HAYDEN BEARD                                Case Number:              3:18-CR-00029-01-RRB
                                                                                                      USM Number:               20207-006
                                                                                                      Gretchen L. Staft
                                                                                                      Defendant’s Attorney
    THE DEFENDANT:
    ☒ pleaded guilty to count(s) 2 of the Indictment
    ☐ pleaded nolo contendere to count(s)
      which was accepted by the court.
    ☐ was found guilty on count(s)
      after a plea of not guilty.
    The defendant is adjudicated guilty of these offenses:
    Title & Section                                                   Nature of Offense                                                     Offense Ended          Count
    18 U.S.C. §§ 2252(a)(4)(B) and                                    Sexual Exploitation of a Child – Possession of Child                     1/19/2018              2
    (b)(2)                                                            Pornography
    18 U.S.C. § 2253                                                  Criminal Forfeiture Allegation                                              N/A                N/A




    The defendant is sentenced as provided in pages 2 through 9 of this judgment. The sentence is imposed pursuant to
    the Sentencing Reform Act of 1984.
     ☐ The defendant has been found not guilty on count(s)
     ☒ Count(s) 1 of the Indictment
                                                        ☒ is    ☐      are   dismissed on the motion of the United States.
    It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
    or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
    restitution, the defendant must notify the court and United States Attorney of material changes in economic circumstances.
                                                                                                      8/24/2020
                                                                                                      Date of Imposition of Judgment
                                                           CERTIFIED A TRUE COPY                      s/ Ralph R. Beistline
                                                           KAREN MITCHELL, CLERK                      Signature of Judge

                                                             By s/*HALEYHENDERSON                     Ralph R. Beistline, Senior United States District Judge
                                                                                                      Name and Title of Judge
                                                                   DEPUTY CLERK
                                                         U.S. DISTRICT COURT, NORTHERN                 September 2, 2020
    Sheet 1
                                                                DISTRICT OF TEXAS                     Date

                                                                January 19, 2023




.
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AO245B                            (Rev. 11/16) Judgment in a Criminal Case
                                  Sheet 2 — Imprisonment
                                                                                                                      Second Amended Judgment — Page 2 of 9
DEFENDANT:                                      HAYDEN BEARD
CASE NUMBER:                                    3:18-CR-00029-01-RRB

Sheet 2 — I mprison ment
                                                                               IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
**TIME SERVED as of September 14, 2020.




☒ The court makes the following recommendations to the Bureau of Prisons:
                           The defendant serve his term of imprisonment in a facility in Texas which has the Bureau of Prisons Residential Drug
                           Abuse Program, a sex offender treatment program, and mental health treatment available.

☒ The defendant is remanded to the custody of the United States Marshal.

☐ The defendant shall surrender to the United States Marshal for this district:
                           ☐ at                             ☐ a.m. ☐ p.m. on                                                              .
                           ☐ as notified by the United States Marshal.

☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                           ☐ before 2 p.m. on                                               .
                           ☐ as notified by the United States Marshal.
                           ☐ as notified by the Probation or Pretrial Services Office.

                                                                                      RETURN
I have executed this judgment as follows:




Defendant delivered on                                                                             to
at                                                                  , with a certified copy of this judgment.



                                                                                                            UNITED STATES MARSHAL

                                                                                       By
                                                                                                        DEPUTY UNITED STATES MARSHAL




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AO245B                                (Rev. 11/16) Judgment in a Criminal Case
                                      Sheet 3 — Supervised Release
                                                                                                                         Second Amended Judgment — Page 3 of 9
DEFENDANT:                                          HAYDEN BEARD
CASE NUMBER:                                        3:18-CR-00029-01-RRB

Sheet 3 — Supervised Release
                                                                                 SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :

    20 YEARS




                                                                            MANDATORY CONDITIONS
1.                             You must not commit another federal, state or local crime.
2.                             You must not unlawfully possess a controlled substance.
3.                             You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
                               release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                                 ☐ The above drug testing condition is suspended, based on the court’s determination that you pose a low risk of
                                       future substance abuse. (check if applicable)
4.                             ☐ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
                                 restitution. (check if applicable)
5.                             ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.                             ☒ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
                                 as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
                                 where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.                             ☐ You must participate in an approved program for domestic violence. (check if applicable)


You must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached pages.




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                                     Case 4:21-cr-00046-P Document 25 Filed 01/20/23                      Page 10 of 15 PageID 210
 AO245B                                 (Rev. 11/16) Judgment in a Criminal Case
                                        Sheet 3A — Supervised Release
                                                                                                                         Second Amended Judgment — Page 4 of 9
 DEFENDANT:                                           HAYDEN BEARD
 CASE NUMBER:                                         3:18-CR-00029-01-RRB

 Sheet 3A — Supervised Release
                                                                STANDARD CONDITIONS OF SUPERVISION
 As part of your supervised release, you must comply with the following standard conditions of supervision. These
 conditions are imposed because they establish the basic expectations for your behavior while on supervision and identify
 the minimum tools needed by probation officers to keep informed, report to the court about, and bring about improvements
 in your conduct and condition.
 1.                              You must report to the probation office in the federal judicial district where you are authorized to reside within 72
                                 hours of your release from imprisonment, unless the probation officer instructs you to report to a different probation
                                 office or within a different time frame.
 2.                              After initially reporting to the probation office, you will receive instructions from the court or the probation officer
                                 about how and when you must report to the probation officer, and you must report to the probation officer as
                                 instructed.
 3.                              You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
                                 permission from the court or the probation officer.
 4.                              You must answer truthfully the questions asked by your probation officer.
 5.                              You must live at a place approved by the probation officer. If you plan to change where you live or anything about
                                 your living arrangements (such as the people you live with), you must notify the probation officer at least 10 days
                                 before the change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you
                                 must notify the probation officer within 72 hours of becoming aware of a change or expected change.
 6.                              You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
                                 probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
                                 view.
 7.                              You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
                                 excuses you from doing so. If you do not have full-time employment you must try to find full-time employment,
                                 unless the probation officer excuses you from doing so. If you plan to change where you work or anything about your
                                 work (such as your position or your job responsibilities), you must notify the probation officer at least 10 days before
                                 the change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
                                 circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
                                 change.
 8.                              You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
                                 has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
                                 the permission of the probation officer.
 9.                              If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.                              You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
                                 anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
                                 person such as nunchakus or tasers).
11.                              You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
                                 informant without first getting the permission of the court.
12.                              If the probation officer determines that you pose a risk to another person (including an organization), the probation
                                 officer may require you to notify the person about the risk and you must comply with that instruction. The probation
                                 officer may contact the person and confirm that you have notified the person about the risk.
13.                              You must follow the instructions of the probation officer related to the conditions of supervision.




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AO245B                           (Rev. 11/16) Judgment in a Criminal Case
                                 Sheet 3D — Supervised Release
                                                                                                                   Second Amended Judgment — Page 5 of 9
DEFENDANT:                                     HAYDEN BEARD
CASE NUMBER:                                   3:18-CR-00029-01-RRB
                                                           SPECIAL CONDITIONS OF SUPERVISION
Sheet 3D — Supervised Release




                                  1. In addition to submitting to drug testing in accordance with the Violent Crime Control and Law Enforcement
                                     Act of 1994, at the direction of the probation officer the defendant shall obtain a substance abuse assessment
                                     and participate in any recommended treatment. The treatment program must be approved by the United
                                     States Probation Office and the program must include testing to determine whether the defendant has
                                     reverted to the use of drugs or alcohol. At the direction of the probation officer, the defendant may be
                                     required to pay for all or a portion of any treatment program. In addition to urinalysis testing that may be a
                                     part of a formal drug treatment program, the defendant shall submit up to 12 urinalysis tests per month.
                                  2. The defendant shall not consume any alcohol and shall not possess any alcoholic beverages during the period
                                     of supervision. If this condition interferes with potential employment, the defendant shall discuss the
                                     employment requirements with the probation officer and may request a modification of the condition.
                                  3. The defendant shall not possess or use a computer or cellular telephone with access to any on-line service at
                                     any time (including employment) without prior written approval from the probation officer. This includes
                                     access through any Internet service provider, bulletin board system, e-mail system, or any public or private
                                     computer network system. The defendant shall permit routine inspection of his/her computer system or any
                                     other computer system maintained at the defendant’s residence to include hard drives and any media storage
                                     materials, to confirm adherence to this condition. The inspection shall be no more intrusive than is necessary
                                     to ensure compliance with the defendant’s conditions of supervision. The defendant shall inform his/her
                                     employer, or other third party who may be impacted by this condition, of this computer-related restriction
                                     and the computer inspection provisions of the condition.
                                  4. The defendant shall provide the probation officer with any requested financial information to verify there
                                     have been no payments to an Internet Service Provider or entities that provide access to the Internet via
                                     computer, cell phone, PDA, or other electronic media device.
                                  5. The defendant shall have no contact with any person under the age of 18 years without adult supervision,
                                     including his/her own family members, nor attempt contact except under circumstances approved in advance
                                     and in writing by the probation officer in consultation with the defendant’s treatment provider.
                                  6. The defendant shall not seek employment, engage in leisure activities or loiter near places designated
                                     primarily for minors such as schools, parks, and arcades, which may bring the defendant into unsupervised
                                     contact with any person under the age of 18 years. Contact is defined as any transaction occurring face to
                                     face, over the telephone, via mail, over the internet, and any third party communication.
                                  7. The defendant shall not be employed in any capacity which is likely to cause the defendant to come into
                                     unsupervised contact with children, except under circumstances approved in advance by the supervising
                                     probation officer. The defendant shall not participate in any volunteer activity that may cause the defendant
                                     to come into direct contact with children, except under circumstances approved in advance by the
                                     defendant’s probation officer.
                                  8. The defendant shall not possess any material showing sexually explicit conduct as defined under 18 U.S.C.
                                     § 2256 or as deemed inappropriate by his probation officer and/or treatment provider, or patronize any
                                     location or website where such material or entertainment is featured. To assist in monitoring this condition,
                                     the defendant shall allow, at the defendant’s expense, the probation office to install monitoring software or
                                     hardware on any computer(s) or electronic device(s) in order to determine adherence to this condition.
                                     Further, the defendant shall provide the probation officer with any requested financial information to verify
                                     any Internet Service Provider account information or entities that provide access to the Internet via computer,
                                     cellular telephone, tablet, or any other electronic media device.
                                  9. The defendant shall conform with sex offender registration laws and other laws which exist in any
                                     jurisdiction where he resides or visits, within 24 hours of release on supervision or any change in
                                     circumstances.




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AO245B    (Rev. 11/16) Judgment in a Criminal Case
          Sheet 3D — Supervised Release
                                                                                                Second Amended Judgment — Page 6 of 9
DEFENDANT:              HAYDEN BEARD
CASE NUMBER:           3:18-CR-00029-01-RRB
           10. The defendant shall submit to a warrantless search of person, residence, vehicle, personal effects, place of
               employment, and other property by a federal probation or pretrial services officer or other law enforcement
               officer, based upon reasonable suspicion of contraband, a violation of a condition of supervision, or a
               violation of law. Contraband includes, but is not limited to, any computers, electronic media, videotapes,
               CD’s, DVD’s, Zip drives, PDA’s or other electronic media storage device that may include images of child
               pornography. Failure to submit to a search may be grounds for revocation.
           11. The defendant shall participate in a program of sex offender assessment and treatment, as directed by the
               probation officer, until such time as he is released from the program. This assessment, treatment and the
               entirety of supervised release may include physiological testing such as polygraph to assist in planning, case
               monitoring, and supervision. At the direction of the probation officer, the defendant may be required to pay
               for all or a portion of any treatment program. Any refusal to submit to such assessment or tests as scheduled
               is a violation of the conditions of release. The defendant shall waive his right of confidentiality in treatment
               and sign any necessary releases for any records imposed as a consequence of this judgment to allow the
               supervising United States Probation Officer to review the defendant's course of treatment and progress with
               the treatment provider(s). Following completion of any sex offender treatment program, the defendant shall
               continue to submit to polygraph examination at the direction of the probation officer to assist with monitoring
               any perceived risks of danger to the community and adherence to the terms and conditions of supervision.
               At the direction of the probation officer, the defendant may be required to pay for all or a portion of any
               polygraph testing.
           12. Until such time that the fine and/or restitution is paid in full, the defendant shall provide the probation officer
               access to any requested financial information, including authorization to conduct credit checks, and shall not
               incur any new debts or apply for credit without the prior approval of the probation officer.
           13. During the term of supervision, the defendant shall, while eligible, apply for the Alaska Permanent Fund
               Dividend (PFD) and shall apply the PFD toward any outstanding restitution or fine owed in this case.
           14. At the direction of the probation officer the defendant shall obtain a mental health assessment and participate
               in any recommended mental health treatment. The treatment program must be approved by the United States
               Probation Office. At the direction of the probation officer, the defendant may be required to pay for all or a
               portion of any treatment program.
           15. Upon release from imprisonment and upon arrival in the State of Alaska, Defendant must comply with any
               applicable health mandates issued by the state and local authorities. **
           16. Defendant must complete a Traveler Declaration Form. **
           17. Defendant must submit to a COVID-19 test within 14 days of his arrival in the State of Alaska and provide
               the test results to the U.S. Probation Office. **
           18. Upon arrival in the State of Alaska, Defendant must immediately proceed to his residence and complete a
               14-day quarantine period. During the 14-day self-quarantine period, Defendant is permitted to leave his
               residence only for emergency medical purposes that require immediate medical attention or hospitalization.
               **
           19. If Defendant’s test result is positive, he must continue to self-quarantine and remain in his residence until he
               obtains medical documentation that he has recovered from COVID-19. **

                        ////////////////////////////////////////////////////////////////////////////




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         Case 4:21-cr-00046-P Document 25 Filed 01/20/23                    Page 13 of 15 PageID 213
AO245B     (Rev. 11/16) Judgment in a Criminal Case
           Sheet 3D — Supervised Release
                                                                                           Second Amended Judgment — Page 7 of 9
DEFENDANT:               HAYDEN BEARD
CASE NUMBER:             3:18-CR-00029-01-RRB
U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written
copy of this judgment containing these conditions. For further information regarding these conditions, see Overview of
Probation and Supervised Release Conditions, available at www.uscourts.gov.
Defendant’s Signature                                                                 Date




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                                              Case 4:21-cr-00046-P Document 25 Filed 01/20/23                                                                  Page 14 of 15 PageID 214
AO245B                                           (Rev. 11/16) Judgment in a Criminal Case
                                                 Sheet 5 — Criminal Monetary Penalties
                                                                                                                                                                           Second Amended Judgment — Page 8 of 9
DEFENDANT:                                                     HAYDEN BEARD
CASE NUMBER:                                                   3:18-CR-00029-01-RRB
                                                                                CRIMINAL MONETARY PENALTIES
Sheet 5 — Criminal M onetary Penalties
                                         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                                                                                                     Sheet 5 — Criminal M onetary Penalties




                                                       Assessment                   JVTA Assessment*                                                          Fine               Restitution
TOTALS                                             $ 100.00                     $                                                                  $                           $ $15,000.00*

☐                                         The determination of restitution is deferred until                                         An Amended Judgment in a Criminal Case (AO 245C)
                                          will be entered after such determination.

☐                                         The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
                                          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
                                          otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
                                          victims must be paid before the United States is paid.


Name of Payee                                                                               Total Loss**                                  Restitution Ordered                      Priority or Percentage
Victim A                                                                                                                                             $3,000.00                            100%
Victim B                                                                                                                                             $3,000.00                            100%
Victim C                                                                                                                                             $3,000.00                            100%
Victim D                                                                                                                                             $3,000.00                            100%
Victim E                                                                                                                                             $3,000.00                            100%



TOTALS                                                                                           $ 0.00                                                          $ 15,000.00


☐                                         Restitution amount ordered pursuant to plea agreement $

☐                                         The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
                                          the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
                                          subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
☒                                         The court determined that the defendant does not have the ability to pay interest and it is ordered that:
                                          ☒ the interest requirement is waived for the ☐              fine       ☒                          restitution
                                          ☐ the interest requirement for the ☐ fine                   ☐      restitution is modified as follows:

*                                           Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

**                                         Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
                                           offenses committed on or after September 13, 1994, but before April 23, 1996.




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                                       Case 4:21-cr-00046-P Document 25 Filed 01/20/23                                     Page 15 of 15 PageID 215
AO245B                                     (Rev. 11/16) Judgment in a Criminal Case
                                           Sheet 6 — Schedule of Payments
                                                                                                                                            Second Amended Judgment — Page 9 of 9
DEFENDANT:                                               HAYDEN BEARD
CASE NUMBER:                                             3:18-CR-00029-01-RRB

Sheet 6 — Schedule of Payments
                                                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A ☒                                  Lump sum payment of                 $15,100.00                       due immediately, balance due
                                       ☐      not later than                               , or
                                       ☒     In accordance with ☐          C, ☐        D, ☐ E, or ☒       F below; or

B ☐                                  Payment to begin immediately (may be combined with ☐                  C, ☐     D, ☐ E, or ☐       F below); or
                                     Payment in equal                                 (e.g., weekly, monthly, quarterly) installments of   $                          over a
C ☐
                                     period of                            (e.g., months or years), to commence                                  (e.g., 30 or 60 days) after the
                                     date of this judgment; or
                                     Payment in equal                                 (e.g., weekly, monthly, quarterly) installments of    $                         over a
D ☐
                                     period of                            (e.g., months or years), to commence                                  (e.g., 30 or 60 days) after
                                     Release from imprisonment to a term of supervision; or
                                 ☐
E                                    Payment during the term of supervised release will commence within                               (e.g., 30 or 60 days) after release
                                     from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F ☒ Special instructions regarding the payment of criminal monetary penalties:

                                     Any unpaid amount is to be paid during the period of incarceration at a rate of 50% of wages earned while in the custody of the
                                     Bureau of Prisons and during the period of supervision in monthly installments of not less than 5% of the defendant’s gross
                                     monthly income or $25, whichever amount is greater. Interest on the restitution is waived.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons’ Inmate Financial Responsibility Program are made to the United States District Court, District of Alaska. For restitution
payments, the Clerk of the Court is to forward money received to the party(ies) designated to receive restitution specified on the
Criminal Monetaries (Sheet 5) page.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

☐ Joint and Several
  Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
  and corresponding payee, if appropriate.



☐ The defendant shall pay the cost of prosecution.

☐ The defendant shall pay the following court cost(s):

☒ The defendant shall forfeit the defendant’s interest in the following property to the United States:
                                 Defendant shall forfeit the defendant’s interest in the property as stated in the Preliminary Order of Forfeiture (DKT 44).


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court
costs.


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